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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
GARY EDWARDS Case Number: 21CR366-JEB
USM Number: N/A
) Adam D. Harris
) Defendant’s Attorney 7 -

THE DEFENDANT:
WV pleaded guilty to count(s) five (5) of the Information filed on 5/18/2021,

[1 pleaded nolo contendere to count(s)
which was accepted by the court.

(] was found guilty on count(s)
after a plea of not guilty,

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
40 USC § 5104(e)(2)(G) ~~ Parading, Demonstrating, or Picketing in a Capital Building 1/6/2021 5
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s)

 

MCount(s) 1-4 1 is UM are dismissed on the motion of the United States.

_,_ It is ordered that the defendant must notify the United States attorney for this district within 30 anys of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid: If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstarices.

12/20/2021

Date of Imposition of Judgment 7

1G) —_

Signature of Judge

  

James E. Boasberg, U.S. District Judge
‘Name and Title of Judge 7

a)
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AO 245B (Rey. 09/19) — Judgment in a Criminal Case
Sheet 4—Probation

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DEFENDANT: GARY EDWARDS

CASE NUMBER: 21CR366-JEB
PROBATION

You are hereby sentenced to probation for a term of:

one (1) year,

MANDATORY CONDITIONS

|. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court.
L] The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

4. WM You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5. (1 You must comply with the requirements of the Sex Offender Registration and Notification Act 34 U.S.C. § 20901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable}

6. ( You must participate in an approved program for domestic violence. (check if applicable)

7. (4) You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)

8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013,

9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

|

0. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 4A — Probation

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DEFENDANT: GARY EDWARDS
CASE NUMBER: 21CR366-JEB

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1,
2.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer,

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency to act as a confidentia! human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officcr rclated to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this

judgment containing these conditions, For further information regarding these conditions, see Overview of Probation and Supervised

Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date
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AO 245B (Rev. 09/19) — Judgment in a Criminal Case
Sheet 4D — Probation

DEFENDANT: GARY EDWARDS
CASE NUMBER: 21CR366-JEB

SPECIAL CONDITIONS OF SUPERVISION

The Court authorizes supervision and jurisdiction of this case to be transferred to the United States District Court for the
Eastern District of Pennsylvania.

While on supervision, you shal! abide by the following mandatory conditions, as well as the standard conditions of

supervision, which are imposed to establish the basic expectations for your conduct while on supervision. The mandatory
conditions include:

1. You must not commit another federal, state, or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
placement on supervision and at least two periodic drug tests thereafter, as determined by the court.

4. You must make restitution in accordance with 18 USC §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution.

You shall comply with the following special condition:

Community Service - You must complete 200 hours of community service within 5 months. The probation officer will

supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the probation officer.

You are ordered to make restitution to the Architect of the Capitol in the amount of $500.00. The court determined you do
not have the ability to pay interest and therefore waives any interest or penalties that may accrue on the balance.

Restitution payments shall be made to the Clerk of the Court for the United States District Court, District of Columbia, for
disbursement to the following victim:

Architect of the Capitol

Office of the Chief Financial Officer
Attention: Kathy Sherrill, CPA

Ford House Office Building, Room H2-205B
Washington, DC 20515

$500.00

Restitution Obligation — You must pay the balance of any restitution owed at a rate of no less than $100 each month and
provide verification of same to the Probation Office.

If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule of

Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that might
affect the ability to pay this financial penalty.

The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.

Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or
termination from treatment.

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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page _ “5 _ of Bg
DEFENDANT: GARY EDWARDS

CASE NUMBER: 21CR366-JEB
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 10,00 $ 500.00 $ 2,500.00 $ $
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.

[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
i p pay | Y pt +P (i y p

the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Architect of the Capitol $500.00

Office of the Chief Financial Officer
Attention: Kathy Sherrill, CPA

Ford House Office Building,Room H2-205B
Washington, DC 20515

TOTALS $ 0.00 $ 500.00

(J Restitution amount ordered pursuant to plea agreement $

(1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

¥] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
V1 the interest requirement is waived forthe WW fine M_ restitution.

{] the interest requirement forthe 1 fine (1 restitution is modified as follows:

* Amy, Vicky, and Andy Child pomopraphy Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims o Tae e ct of 2015, Pub. L. No, 114-22,

*** Findings for the total amount of losses are seauires under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or atter September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5A — Criminal Monetary Penalties

Judgment—Page 6 of 8

DEFENDANT: GARY EDWARDS
CASE NUMBER: 21CR366-JEB

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

You are ordered to make restitution to the Architect of the Capitol in the amount of $500.00. The court determined you do
not have the ability to pay interest and therefore waives any interest or penalties that may accrue on the balance.

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave
NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk of the Court of the
change until such time as the financial obligation is paid in full.

If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule of

Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that might
affect the ability to pay this financial penalty.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

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DEFENDANT: GARY EDWARDS

CASE NUMBER: 21CR366-JEB

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A  W| Lump sum paymentof$ 2,510.00 due immediately, balance due

[1 not later than 8
vl inaccordance with (7 C, ( D,  E,or 1 F below; or

B (1 Payment to begin immediately (may be combined with LIC, [)D,or (IF below); or
C (OO Paymentinequal (e.g., weekly, monthly, quarterly) installments of $ over a period of
___ (e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ _ over a period of
(e.g., months or years), to commence _(e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E ( Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F WJ Special instructions regarding the payment of criminal monetary penalties:

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
of the Court of the change until such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if uiis judemient imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, exeeht those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

{) The defendant shall pay the cost of prosecution.
() The defendant shall pay the following court cost(s):

{1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be appiied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) VTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs,
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 7 —- Denial of Federal Benefits

Judgment — Page 8 of 8
DEFENDANT: GARY EDWARDS

CASE NUMBER: 21CR366-JEB

DENIAL OF FEDERAL BENEFITS
(For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)
IT 1S ORDERED that the defendant shall be:

(1 ineligible for all federal benefits for a period of

L} ineligible for the following federal benefits for a period of
(specify benefit(s))

OR

L] Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

IT IS ORDERED that the defendant shall:

C] be ineligible for all federal benefits for a period of

[] be ineligible for the following federal benefits for a period of

(specify benefit(s))

successfully complete a drug testing and treatment program.
perform community service, as specified in the probation and supervised release portion of this judgment,

[1] Having determined that this is the defendant’s second or subsequent conviction for possession of a controlled substance, !T

IS FURTHER ORDERED that the defendant shal] pointe any drug treatment program and community service specified in this
Judgment as a requirement for the reinstatement of eligibility for federal benefits.

Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, Veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk of court is responsible for sending a copy of this page and the first page of this judgment to:

U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
